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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
 OPIATE LITIGATION
                                                     Case No. 17-MD-2804
 This document relates to:
                                                     Judge Dan Aaron Polster
 Track One-B Cases


           OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE OR SEVER
             PHARMACY DEFENDANTS’ THIRD-PARTY COMPLAINTS

       Nowhere in Plaintiffs’ motion do they dispute the central and dispositive fact that makes

the Pharmacy Defendants’ Third-Party Complaints appropriate and necessary: Under Plaintiffs’

own theory, there could have been no harm to Plaintiffs, and thus no liability on the part of any

of the Pharmacy Defendants, unless prescribers wrote improper prescriptions for prescription

opioid medications that pharmacists employed by the Pharmacy Defendants filled.

       Unable to sidestep this dispositive fact, Plaintiffs resort to misdirection, applying the

wrong standard under Rule 14, mischaracterizing the theory of the Third-Party Complaints, and

suggesting (incorrectly) that the Pharmacy Defendants needed the Court’s leave to file the Third-

Party Complaints and that they fail to state a claim. Even more brazenly, Plaintiffs refuse to

acknowledge that the need for, and the ultimate scope of, the Third-Party Complaints is entirely

up to Plaintiffs. It was Plaintiffs’ choice to amend their complaints in November 2019—a full

18 months after first suing the Pharmacy Defendants—to assert the very dispensing claims

Plaintiffs had repeatedly disavowed during motions practice and discovery. And should

Plaintiffs finally comply with the Pharmacy Defendants’ discovery requests and orders by the

Special Master to identify the specific prescriptions they allege the Pharmacy Defendants should

not have filled, it will be Plaintiffs’ choice how many prescribers they accuse of improperly
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prescribing opioids to patients in Cuyahoga and Summit Counties.

       Under settled principles of third-party practice under Rule 14, and in a case alleging

widespread dispensing violations by the Pharmacy Defendants necessarily based in part on

allegedly improper prescribing, the considerations of judicial economy and prejudice weigh

decidedly in favor of the Third-Party Complaints and against Plaintiffs’ motion.

                                           ARGUMENT

       Rule 14 of the Federal Rules of Civil Procedure authorizes a defendant to “serve a

summons and complaint on a nonparty who is or may be liable to it for all or part of the claim

against it.” The purpose of the rule is to allow “additional parties whose rights may be affected

by the decision in the original action to be joined so as to expedite the final determination of the

rights and liabilities of all the interested parties in one suit.” Am. Zurich Ins. Co. v. Cooper Tire

& Rubber Co., 512 F.3d 800, 805 (6th Cir. 2008). A defendant may file a third-party complaint

as a matter of right within 14 days after serving its answer and with leave of court thereafter. See

FED. R. CIV. P. 14(a)(1). Even where leave is required, “timely motions for leave to implead

third parties should be freely granted . . . unless to do so would prejudice the plaintiff, unduly

complicate the trial, or would foster an obviously unmeritorious claim.” Trane U.S. Inc. v.

Meehan, 250 F.R.D. 319, 322 (N.D. Ohio 2008) (quotation marks omitted).

I.     The Third-Party Claims Are Factually and Legally Dependent on the Outcome of
       Plaintiffs’ New Dispensing Claims Against the Pharmacy Defendants

       According to Plaintiffs, the Pharmacy Defendants’ claims are not valid third-party claims

under Rule 14 because “Plaintiffs’ claims against the Pharmacy Defendants are not derivative of

any potential claims against the putative Prescriber Defendants.” Mot. at 6. Plaintiffs have it

exactly backwards. The question is not whether Plaintiffs’ claims are somehow dependent on

the third-party claims against the Prescriber Defendants—as if Plaintiffs must sue the Prescriber


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Defendants in order to prevail against the Pharmacy Defendants. Instead, Rule 14 asks whether

the third-party claims are derived from the Prescriber Defendants’ “actual or potential liability”

to the Pharmacy Defendants “for all or part of” Plaintiffs’ claims. See Am. Zurich, 512 F.3d at

805. Put differently, the validity of a third-party claim turns on whether “the third party’s

liability is in some way dependent on the outcome of the main claim or when the third party is

secondarily liable to the defending party.” Trane, 250 F.R.D. at 322 (quoting Wright & Miller, 6

Fed. Prac. & Proc. Civ. § 1446 (2d ed.)). “The crucial characteristic of a Rule 14 claim is that

defendant is attempting to transfer to the third-party defendant the liability asserted against

defendant by the original plaintiff.” Wright & Miller, 6 Fed. Prac. & Proc. Civ. § 1446 (3d ed.).

Because the Pharmacy Defendants’ claims against the Prescriber Defendants obviously depend

on the outcome of Plaintiffs’ new dispensing claims, they are valid under Rule 14. See id. & n.8

(“[I]mpleader has been successfully utilized when the basis of the third-party claim is . . .

indemnity [or] contribution,” as well as “misrepresentation” and “negligence”).

       The Northern District of Ohio’s decision in Trane is instructive. In that case, a plaintiff

manufacturer brought claims against its franchisee for failing to comply with policies governing

accounting and payment to plaintiff for certain sales. Five months after losing an initial motion

for a temporary restraining order, defendants sought to file a third-party complaint against nine

sales engineers “involved in the transactions” where defendants allegedly violated the policies.

Trane, 250 F.R.D. at 321. Over objections virtually identical to Plaintiffs’ here, the court

granted leave to file the third-party complaint because “the factual issues in the primary and the

third-party complaint overlap” and “[t]he legal issues are also related.” Id. at 322. While adding

third-party defendants introduced “new issues into the case,” the court found that the third-party

claims were proper because “there is still a logical relationship between the third party claims



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and the transaction or occurrence that is the subject matter of the complaint.” Id. (quotation

marks omitted) (emphasis added). The same type of “logical relationship” exists here.

         A.       The Third-Party Claims Are Factually Related to Plaintiffs’ Claims

         Plaintiffs cannot deny that a key factual premise of their new dispensing claims against

the Pharmacy Defendants is improper prescribing by the Prescriber Defendants. Indeed, the very

heart of Plaintiffs’ dispensing claims is that pharmacists working for the Pharmacy Defendants

supposedly filled prescriptions for an “excessive volume” of opioid medications—prescriptions

that necessarily originated with the Prescriber Defendants. See Dkt. No. 3065, Cuyahoga Third-

Party Complaint (“Third-Party Compl.”) ¶ 1 & n.1. After all, Plaintiffs do not allege that any of

the Pharmacy Defendants’ pharmacists dispensed opioid medication to patients who did not have

prescriptions, or filled forged prescriptions. Id. ¶¶ 31, 36. Without excessive prescribing,

Plaintiffs excessive dispensing claims against the Pharmacy Defendants fail.1

         Plaintiffs try to argue that their claims are not based “merely” on the fact that

prescriptions were allegedly filled improperly but also on allegedly inadequate corporate systems

and policies. Mot. at 7. But the supposed inadequacy of the systems and policies—systems and

policies the Pharmacy Defendants had no legal obligation to maintain—is that they allegedly did

not do enough to identify improper prescriptions. Plaintiffs offer no explanation for how

inadequate systems and policies could possibly have caused Plaintiffs’ injuries unless they

resulted in the filling of improper prescriptions written by the Prescriber Defendants.




1
  Of course, Plaintiffs’ dispensing theory fails for the far more basic reason that “excessive volume” is insufficient to
show improper dispensing as a matter of law. See Exhibit A at 8-9 (Order, In the Matter of Holiday CVS, L.L.C.,
d/b/a/ CVS/Pharamcy #00219, et al. (April 13, 2012)) ( “[A]bsent a nexus to a red flag of diversion, proposed
testimony and exhibits . . . designed to demonstrate aggregate numbers and relative aggregate numbers of controlled
substances prescriptions dispensed by the Respondents do not constitute relevant evidence [of dispensing
violations].”). But whatever its other flaws, Plaintiffs’ theory undeniably requires improper prescribing.

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       B.      The Third-Party Claims Are Legally Related to Plaintiffs’ Claims

       The legal issues are similarly intertwined. Whether a prescription was written for a

“legitimate medical purpose” by a licensed prescriber “in the usual course of his professional

practice,” 21 C.F.R. § 1306.04(a), is closely tied to any evaluation of whether a pharmacist

properly exercised his or her “corresponding responsibility” to fill that prescription. Indeed, the

very term “corresponding responsibility” clearly signals a relationship between the two. Nor can

Plaintiffs deny that the Pharmacy Defendants’ claims exhibit the “crucial characteristic” of Rule

14—seeking to transfer the liability asserted against the Pharmacy Defendants to third parties.

E.g., Third-Party Compl. ¶ 10 (“[I]f the . . . Pharmacy Chains can be held liable to Plaintiff for

filling prescriptions written by the Prescriber Defendants[,] ultimate responsibility must rest with

those who wrote the prescriptions: the Prescriber Defendants themselves.”); id. ¶ 37 (“[I]f the . . .

Pharmacy Chains were to be found liable to Plaintiff because their pharmacists filled these

prescriptions, it would be only because the pharmacists relied in good faith on facially valid

prescriptions written and/or authorized by one of the Prescriber Defendants.”).

       In response, Plaintiffs argue that the Pharmacy Defendants’ third-party claims are

somehow not sufficiently related because pharmacists have a “corresponding responsibility”

under federal law, are “not required to fill a prescription merely because a physician has

authorized a prescription,” and thus “it is a legal fallacy that the prescribers may be held

responsible for the Pharmacy Defendants’ failures to fulfill their legal duties.” Mot. at 5-7

(emphasis added). Beyond confusing the ultimate merits of the third-party claims with their

relationship to Plaintiffs’ claims under Rule 14, Plaintiffs also grossly mischaracterize the

Pharmacy Defendants’ theory of third-party liability. The Third-Party Complaints acknowledge

that pharmacists have a “corresponding responsibility” under federal law, see, e.g., Third-Party

Compl. ¶¶ 9, 34, and never once suggest that a pharmacist is “obligated” to fill a prescription
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written by a physician “if he knows or has reason to know that the prescription was not written

for a legitimate medical purpose,” Medic-Aid Pharmacy, 55 Fed. Reg. 30,043, 30,044 (D.E.A.

July 24, 1990). To the contrary, the Pharmacy Defendants specifically allege that any potential

liability arises because their pharmacists “reasonably relied in good faith” on prescriptions by

the Prescriber Defendants. Third-Party Compl. ¶ 38 (emphasis added).

         Plaintiffs’ argument also fails on the merits. Plaintiffs’ central theory is that “[f]ederal

law does not apportion the responsibility for dispensing unlawful prescriptions between a

prescribing practitioner and a pharmacist” but instead imposes “separate and independent duties

on the prescriber and the pharmacist.” Mot. at 6 (quoting East Main Street Pharmacy, 75 Fed.

Reg. 66,149, 66,157 n.30 (D.E.A. 2010)). But whether federal law apportions responsibility

between prescribers and pharmacists for purposes of regulatory enforcement actions by DEA is

neither here nor there. Like Plaintiffs, the Pharmacy Defendants bring common law claims

under Ohio law.2 And Plaintiffs do not dispute that “it is always the prescriber’s own

responsibility, which the prescriber cannot delegate to the pharmacist or anyone else, to ensure

that prescriptions for controlled substances are proper in all respects.” Third-Party Compl. ¶ 9.

Nor do they dispute that pharmacists “do not and cannot examine patients, take patients’ medical

histories, diagnose patients’ medical conditions, or prescribe treatment.” Id. ¶ 34.

         The authorities on which Plaintiffs rely are fully consistent with the Pharmacy

Defendants’ theory. In East Main Street Pharmacy, the DEA explained that it is the prescriber

who “must act within the usual course of professional practice and have a legitimate medical

purpose to lawfully issue a controlled-substance prescription” and “must act in accordance with a

standard of medical practice generally recognized and accepted in the United States.” 75 Fed.


2
 In East Main Street Pharmacy, DEA noted that “Ohio courts may have interpreted State law” differently when it
comes to allocating responsibility between prescribers and pharmacists. See 75 Fed. Reg. 66149, 66157 n.30.

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Reg. at 66,157 n.30 (quotation marks omitted). A pharmacist, by contrast, “is not required to . . .

practice medicine.” Id. (quotation marks omitted). According to DEA, what is required of a

pharmacist under federal law is “not to fill an order that purports to be a prescription but is not a

prescription within the meaning of the statute because he knows [or has reason to know] that

the issuing practitioner issued it outside the scope of medical practice.” Id. (emphasis added)

(quotation marks omitted) (alteration in original).

        The Pharmacy Defendants emphatically deny Plaintiffs’ allegation that hundreds of

doctors and other licensed prescribers in Cuyahoga or Summit Counties improperly prescribed

opioid medications that the Pharmacy Defendants’ pharmacists then filled. The evidence will

show just the opposite. But if Plaintiffs ever were to prevail in their sweeping claims against the

Pharmacy Defendants, that could only be based on a finding of improper prescribing that

pharmacists working for the Pharmacy Defendants failed to identify. Because the Third-Party

Complaints are factually and legally intertwined with Plaintiffs’ dispensing claims and seek to

shift liability to the Prescriber Defendants, they are valid under Rule 14.

II.     Plaintiffs’ Motion Fails to Identify Any Other Grounds That Would Justify Striking
        or Severing the Third-Party Complaints

        The Third-Party Complaints are necessary and proper under Rule 14, permitting

“additional parties whose rights may be affected by the decision in the original action to be

joined so as to expedite the final determination of the rights and liabilities of all the interested

parties in one suit.” Am. Zurich, 512 F.3d at 805. While federal courts have the power to strike

or sever third-party claims upon a party’s motion, doing so here would waste judicial resources

and prejudice the rights of both the Pharmacy Defendants and the Prescriber Defendants.

Plaintiffs’ motion fails to identify any grounds that would justify striking or severing the Third-

Party Complaints. Cf. Trane, 250 F.R.D. at 322 (“[T]imely motions for leave to implead third


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parties should be freely granted . . . unless to do so would prejudice the plaintiff, unduly

complicate the trial, or would foster an obviously unmeritorious claim.”) (emphasis added).

       A.      The Third-Party Complaints Are Timely

       Under Rule 14(a)(1), the Pharmacy Defendants had 14 days after filing answers to the

Amendments by Interlineation to file any third-party complaints—and could do so without

seeking leave of court. The Pharmacy Defendants each filed answers on December 23, 2019,

and filed the Third-Party Complaints 14 days later, on January 6, 2020. See Dkt. Nos. 3037-48;

Dkt. Nos. 3064 & 3065. While the language of Rule 14 refers to an “original” answer, Plaintiffs

acknowledge that courts frequently find that an answer to an amended complaint qualifies where,

as here, the amendments form the basis for the third-party claims. Mot. at 3; see also, e.g.,

Reynolds v. Rick’s Mushroom Serv., Inc., 2003 WL 22741335, *4 (E.D. Pa. Nov. 17, 2003);

Guarantee Co. of N. Am. v. Pinto, 208 F.R.D. 470, 473 (D. Mass. 2002); Nelson v. Quimby

Island Reclamation Dist. Facilities Corp., 491 F. Supp. 1364, 1387 (N.D. Cal. 1980). Likely for

that reason, Plaintiffs’ procedural objections focus almost exclusively on the truly remarkable

proposition that their dispensing claims “are not new.” See Mot. at 3.

       Plaintiffs’ dispensing claims are new. This is not open to any reasonable dispute, given

that Plaintiffs assert extensive new allegations of improper dispensing in their Amendments by

Interlineation, see, e.g., Dkt. No. 2943 ¶¶ 32, 60, 70, 84; Dkt. No. 2944 ¶¶ 32, 57, 66, 81, and

were forced to include allegations and claims against entirely new Pharmacy Defendant entities

to capture actual dispensing activity, Mot. at 3 n.1 (acknowledging that the amendments “further

specified some of the entities associated with some of the Defendant families”).

       Plaintiffs actually suggest with a straight face that dispensing claims “date back at least to

Plaintiffs’ May 2018 Complaints” and just “were ultimately not the focus of the narrowed CT1

trial track.” Id. at 3-4. Plaintiffs’ creative retelling is completely belied by their unequivocal
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disavowal in June 2018 that they were alleging any dispensing violations—much less asserting

dispensing claims. As Plaintiffs stated in bellwether motions to dismiss briefing, “Plaintiffs do

not allege violations of statutes or regulations applicable specifically to retailers who sell

opioids.” Dkt. No. 654 at 75 n.47. Taking that statement at face value, this Court ruled: “[T]he

Court understands that Plaintiffs have disclaimed any cause of action against Retail Pharmacies

in their capacity as retailers or dispensers of opioids, see Doc. #: 654 at 75 n.47, and thus . . . the

Retail Pharmacies may only be held liable as distributors.” Dkt. No. 1203 at 2.3

         B.       Any Complexity or Delay (If There Is Any) Is the Result of Plaintiffs’ Own
                  Choice to Insert Dispensing Claims and Is Fully Under Plaintiffs’ Control

         Plaintiffs complain that if the Third-Party Complaints are not struck or severed it will

complicate the case and delay the Track 1B trial. Mot. at 10-11. This is so, Plaintiffs insist,

because of the time needed for (1) the Pharmacy Defendants to produce Ohio dispensing data;

(2) for Plaintiffs to identify the allegedly improper prescriptions written by specific Prescriber

Defendants and filled by the Pharmacy Defendants; and (3) for all parties to undertake discovery

regarding those prescriptions, prescribers, and pharmacists. Id. at 11. But Plaintiffs neglect to

mention that all of that discovery is already underway—independent of the third-party claims—

because of Plaintiffs’ choice to introduce dispensing claims for the first time in November, a year

and a half after asserting only distribution claims against the Pharmacy Defendants.4 The fact


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           Plaintiffs clear statement and this Court’s ruling also explains why general allegations about excessive
volume or prescribing in Cuyahoga and Summit Counties in no way triggered some requirement for the Pharmacy
Defendants to produce highly-sensitive dispensing data during Track 1 or to file the Third-Party Complaints at an
earlier date. See Mot. at 4 & n.2. Whatever Plaintiffs’ legal theory might be today or might have been as to other
Distributor Defendants who shipped to independent pharmacies in Track 1, until the filing of the Amendments by
Interlineation in November 2019, Plaintiffs had not alleged—and affirmatively disavowed alleging—that any of the
Pharmacy Defendants violated statutes or regulations governing the dispensing of controlled substances.
         4
           Following a recent discovery hearing with the Special Master regarding appropriate data fields, the
Special Master has directed a production of the Pharmacy Defendants’ dispensing data for Track 1B, followed by
necessary additional discovery once Plaintiffs identify allegedly improper prescriptions. See Exhibit B. Critically,
that plan—which necessarily requires some adjustment of existing deadlines—is necessary for trial, for Plaintiffs’
dispensing claims, and for the Pharmacy Defendants’ defenses, irrespective of the Third-Party Complaints.

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that discovery on the dispensing claims has just begun is the fault of no one but Plaintiffs.

       The ultimate scope and complexity of the Third-Party Complaints is also entirely up to

Plaintiffs. As the Third-Party Complaints make clear, “[i]f Plaintiff ever identifies the specific

prescriptions it claims should not have been filled, the . . . Pharmacy Chains will amend this

Third-Party Complaint to name only the prescribers who wrote those prescriptions.” Third-Party

Compl. ¶ 11. Thus, whether there will be “1,000 new defendants,” Mot. at 10, is pure

conjecture—unless, of course, Plaintiffs actually intend to identify that number of individual

prescribers in Cuyahoga and Summit Counties and accuse them of writing improper

prescriptions that the Pharmacy Defendants’ pharmacists should not have filled.

       Nearly identical considerations were at play in Trane, where the court flatly rejected

arguments that allowing third-party claims to proceed would “entail a dramatic increase in the

scope, duration, and expense of the litigation” and “open a Pandora’s box of additional third-

party defendants” should discovery reveal additional allegedly improper sales. 250 F.R.D. at

322. The court found those concerns “misplaced” for three reasons, each of which applies with

equal force here. Id. First, the court observed that discovery on the underlying improper sales

claims had barely begun. Id. Second, and as discussed in Section I, supra, the court found that

there were overlapping factual and legal issues and a “logical relationship” between the third-

party claims and the issues in the underlying complaint. Id. Finally, the court held that it

“cannot reject a suitable third-party complaint because of potential hardships that may occur

when additional parties are identified via discovery.” Id. (emphasis in original). While the court

acknowledged that additional third-party defendants might eventually be added if more

violations were uncovered, it would not base its decision “on such conjecture.” Id. at 322-23.

The court also noted that, should discovery disclose further alleged improprieties, the plaintiff



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could “avoid any of the complications that it posits” simply by choosing to “forego seeking to

recover its losses from such later-uncovered misconduct.” Id. at 323 n.1.

         C.       Deferring Third-Party Claims Would Waste Party and Judicial Resources

         Because the third-party claims and Plaintiffs’ dispensing claims—including the necessary

discovery for both—are so inextricably intertwined, this is a case where “[i]t is more efficient to

centralize all claims and dispose of all issues.” Acosta v. RAB Commc’ns, Inc., 2019 WL

7282347, *5 (S.D. Ohio Dec. 27, 2019); see also Am. Zurich, 512 F.3d at 805 (the purpose of

Rule 14 is to allow “additional parties whose rights may be affected by the decision in the

original action to be joined so as to expedite the final determination of the rights and liabilities of

all the interested parties in one suit”). The Prescriber Defendants, whom Plaintiffs will soon

identify in discovery, deserve the opportunity to defend their rights—rights that will inevitably

be at issue in the Track 1B trial.5 There is no judicial economy in forcing them to repeat

discovery or wait for a later proceeding. To the contrary, severing the third-party claims against

the Prescriber Defendants would be far less efficient—not only requiring a second trial where

one would do, but also presenting the same evidence to separate juries and inviting inconsistent

verdicts. And in the unlikely event the Pharmacy Defendants are found liable to Plaintiffs for

improperly filling prescriptions from the Prescriber Defendants, the Pharmacy Defendants—who

have numerous trials scheduled throughout the country—have a right to recover from the

Prescriber Defendants without needless expense and delay.6


         5
           For example, should Plaintiffs finally identify specific (and allegedly improper) prescriptions written by
the Prescriber Defendants and filled by the Pharmacy Defendants’ pharmacists, the Pharmacy Defendants would
have the right to call them as witnesses during the Track 1B trial, even if the third-party claims are severed.
         6
           Each of the cases Plaintiff cites for the proposition that the interests of judicial economy justify striking or
severing the Third-Party Complaints is easily distinguishable—if not supportive of the Third-Party Complaints. See
Oklahoma ex rel. Edmondson v. Tyson Foods, Inc., 237 F.R.D. 679 (N.D. Okla. 2006) (third-party plaintiffs named
160 third-party defendants, with the potential for over 100,000 additional individual third-party defendants); In re
Air Crash Disaster, 86 F.3d 498 (6th Cir. 1996) (third-party plaintiff knew about third-party claims for over a year
and waited until the last day of discovery); Rodeheaver v. Sears, Roebuck & Co., 34 F.R.D. 488 (N.D. Ohio 1964)

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         Plaintiffs are wrong that the inclusion of individual prescribers of prescription opioids

would do little to advance the broader MDL litigation. Mot. at 11. Of course, it runs contrary to

the Federal Rules of Civil Procedure to base procedural rulings on considerations relevant only

to other cases in the MDL. See Dkt. No. 3085, Ex. 1. Even still, the claims of these Plaintiffs

and virtually every plaintiff in the MDL are premised on an alleged epidemic of prescription

opioid abuse based on supposed overprescribing. To the extent Plaintiffs choose to proceed with

their dispensing claims against the Pharmacy Defendants in Track 1B, the third-party claims will

substantially further not just this case but, coincidentally, the MDL as a whole.

III.     The Third-Party Complaints State Meritorious Claims

         Nothing in Rule 14(a) requires a threshold determination that a third-party complaint

states meritorious claims. A third-party complaint “must be founded on a third party’s actual or

potential liability to the defendant for all or part of the plaintiff’s claim against the defendant.”

Am. Zurich, 512 F.3d at 805-06 (emphasis added); see also FED. R. CIV. P. 14(a)(1) (same). As

the Note on which Plaintiffs rely makes clear, “the court has discretion to strike the third-party

claim” where it is both “obviously unmeritorious” and “can only delay or prejudice the




(impleader would delay trial and defendant was “partly culpable” for not seeking impleader sooner); Gen. Elec. Co.
v. Irvin, 274 F.2d 175 (6th Cir. 1960) (defendant sought to implead three days before trial); Colon v. Blades, 268
F.R.D. 143 (D.P.R. 2010) (defendant waited over two years after amended complaint to file third-party complaint a
month before trial); Laborers’ Dist. Council Pension & Disability Trust Fund No. 2 v. Geofreeze, Inc., 298 F.R.D.
300 (D. Md. 2014) (court found a “factual dichotomy” between the third-party claims and the underlying case);
Hensley v. United States, 45 F.R.D. 352 (D. Mont. 1968) (court permitted untimely third-party claims to proceed);
Railey v. S. Ry. Co., 31 F.R.D. 519 (E.D.S.C. 1963) (third-party claims introduced complicated and competing legal
standards and third-party plaintiff failed to comply with Rule 14); McPherrin v. Hartford Fire Ins. Co., 1 F.R.D. 88
(D. Neb. 1940) (no need to keep third-party insurance company in case where it had represented that it was “ready
and willing” to pay once liability was established in original action); Kosters v. Seven-Up Co., 595 F.2d 347 (6th
Cir. 1979) (relying on doctrinal confusion around questions of indemnity and contribution in products liability
cases); Arthur Andersen LLP v. Standard & Poor’s Credit, 260 F. Supp. 2d 1123 (N.D. Okla. 2003) (court declined
to sever certain third-party claims, noting that “[t]hird-party claims brought under the authority of Rule 14 are rarely
stayed” and a stay would extend the broader litigation); In re CFS-Related Sec. Fraud Litig., 213 F.R.D. 435 (N.D.
Okla. 2003) (third-party plaintiffs waited two years to bring third-party claims); United States v. Kramer, 770 F.
Supp. 954 (D.N.J. 1991) (third-party claims involved numerous defenses otherwise irrelevant to the action and
allowing claims was contrary to purposes of CERCLA).

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disposition of the plaintiff’s claim.” FED. R. CIV. P. 14, Advisory Committee Note to 1963

amendments (emphasis added). As already explained, supra, the third-party claims are fully

intertwined with the Plaintiffs’ new dispensing claims and will not unduly delay or prejudice

anyone. In addition, there is nothing unmeritorious—much less “obviously” unmeritorious—

about the Pharmacy Defendants’ well-pleaded third-party claims.

       A.      Negligent Misrepresentation, Negligence, and Fraud (Claims I, II, and III)

       Plaintiffs do not even attempt to dispute that the Pharmacy Defendants have pleaded each

of the elements of their third-party claims for negligent misrepresentation, negligence, and

intentional fraud. Instead, they incorporate by reference the arguments addressed in detail in

Section I.B, supra. Mot. at 10. Because those arguments fail, Plaintiffs have provided no

reasoned basis for finding these three claims “obviously unmeritorious.”

       B.      Indemnification (Count IV)

       A claim for indemnification is one of the classic third-party claims under Rule 14—

precisely the type of claim for which Rule 14 was designed. See Wright & Miller, 6 Fed. Prac.

& Proc. Civ. § 1446. Perhaps for that reason, Plaintiffs devote far more attention to this claim,

asserting two independent arguments for why, in their view, the Third-Party Complaints fail to

state a proper claim for indemnification. See Mot. at 8-9. Each of those arguments fails.

       First, Plaintiffs assert that Ohio law does not allow for indemnification except for wholly

“innocent actors,” and, Plaintiffs say, their claims allege that the Pharmacy Defendants breached

affirmative duties. Id. at 8. But Ohio law is not so restricted. Rather, “Ohio law generally

recognizes that implied indemnification is appropriate in certain limited circumstances where a

party owes only secondary legal responsibilities and is passively negligent.” Mahathiraj v.

Columbia Gas of Ohio, Inc., 84 Ohio App. 3d 554, 563-64 (Ohio Ct. App. 1992).



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       One of the cases on which Plaintiffs rely for their second argument explains exactly why

they are wrong about their first. In CSX Transp., Inc. v. Columbus Downtown Dev. Corp., 307 F.

Supp. 3d 719 (S.D. Ohio 2018), the court addressed third-party claims for indemnification and

contribution arising from alleged failures to properly maintain the foundations of a bridge. Id. at

723-24. Carefully surveying Ohio law on “passive negligence,” the court held that “a right of

indemnification exists where the secondary party becomes liable to a third person for failing to

discover or to remedy the harm caused by the primary party’s negligence or misconduct.” Id. at

731 (quotation marks omitted). In CSX, the third-party plaintiffs were hired to implement bridge

maintenance plans designed by the third-party defendant. Id. at 732. While the third-party

plaintiffs were “potentially liable” for “implementing the [plans],” they alleged that the “flawed

plans . . . caused the damage.” Id. The court found that “these allegations support an inference”

that they were “passively negligent (in the sense of failing to discover or remedy the flaws in the

plans)” but that the third-party defendant “was the true party at fault.” Id. Here, the Pharmacy

Defendants make nearly identical allegations. E.g., Third-Party Compl. ¶ 62.

       Second, Plaintiffs argue that the Pharmacy Defendants fail to allege facts showing the

existence of “a relationship establishing secondary liability.” Mot. at 8-9. Citing CSX, Plaintiffs

suggest that the Prescriber and Pharmacy Defendants share no “common duty” to Plaintiffs. Id.

at 9. In CSX, however, the court held that a “common duty” could be inferred from allegations

that the third-party plaintiffs and defendant “had specific and interrelated involvement in

providing [maintenance] for the bridge,” with the third-party defendant designing the plans and

the third-party plaintiffs “relying on and complying with” those plans. 307 F. Supp. 3d at 731.

Again, the Pharmacy Defendants make the same allegations. Third-Party Compl. ¶¶ 31-35

(describing the interrelated roles of the Prescriber and Pharmacy Defendants); id. ¶ 41 (alleging



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that pharmacists must “rely on prescriptions written by Prescriber Defendants”); id. ¶ 40

(alleging a “special relationship” between the Prescriber and Pharmacy Defendants).7

         C.       Contribution (Claim V)

         Contribution is another classic third-party claim under Rule 14. Wright & Miller, 6 Fed.

Prac. & Proc. Civ. § 1446. Unlike indemnification, Plaintiffs have little to say about it. Mot. at

9. In fact, Plaintiffs’ only basis for suggesting that the Pharmacy Defendants’ claim fails is to

argue that contribution is unavailable for intentional torts like their absolute public nuisance

claim. Id. Even accepting for sake of argument Plaintiffs’ characterization of contribution under

Ohio law, their characterization of their nuisance claim is directly at odds with how they

presented that claim in proposed jury instructions. See Dkt. No. 2715-2 at 2 (describing one of

the elements of absolute public nuisance as being that the defendant acted “intentionally and

unreasonably or in violation of a statute for the protection of others”) (emphasis added).

Because Plaintiffs have taken the position that absolute public nuisance claims can be based on

something other than intentional conduct, Plaintiffs’ objection fails on its own terms.8

                                                 CONCLUSION

         For the foregoing reasons, Plaintiffs’ Motion to Strike or Sever the Pharmacy

Defendants’ Third-Party Complaints should be denied.


          7
            The Pharmacy Defendants maintain that neither they nor the Prescriber Defendants owe any duty to
Plaintiffs by virtue of the federal Controlled Substances Act, DEA regulations, or any other statute or rule.
Nonetheless, to the extent the Court permits Plaintiffs’ dispensing claims to proceed based on allegations of a duty
running from the Pharmacy Defendants to Plaintiffs by virtue of pharmacists’ “corresponding responsibility,” there
is no question that Prescriber Defendants have a “common duty.” See 21 C.F.R. 1306.04(a).
         8
           Plaintiffs claim that the Pharmacy Defendants’ indemnification and contribution claims should be severed
because they are premature. See Mot. at 13-14 (“[A]ssuming arguendo Pharmacy Defendants had actionable claims
for contribution or indemnification, such claims have not yet accrued, making them particularly appropriate for
severance and deferral.”). This argument misses the entire point of Rule 14. See Trane, 250 F.R.D. at 323 (“Trane’s
argument that the third-party claims . . . are only relevant if Meehan and/or his company are found liable on certain
of Trane’s claims runs counter to Rule 14 jurisprudence” because the rule “is designed to only apply in cases where
the third-party defendant’s liability depends on the third-party plaintiff’s liability”); CSX Transp., 307 F. Supp. 3d at
733-34 (“[W]hile Ohio law grants a substantive right to contribution, federal law governs the procedure of asserting
a claim in federal court.” (citing Erie R.R. v. Tompkins, 304 U.S. 64 (1938)).

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Dated: January 27, 2020                    Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that this 27th day of January, 2020, I electronically filed a copy of the

foregoing with the Clerk of the Court using the ECF system, which sent notification of such

filing to all counsel of record.


                                                    /s/ Kaspar J. Stoffelmayr
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